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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE ROW 5

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EASTERN DIVISION
UNITED STATES OF AMERICA, )
)
)
Plaintiff, )
)
)
V ) Cr. No. 04-
)
)
RICKY PICKARD, )
)
)
Dei'endant. )

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COMES NOW, the United States of America, by d through the undersigned Assistant

United States Attorney, Jerry R. Kitchen, and moves t ` onorable Court for a continuance of the

sentencing date and would state as follows:
Cun'ently, this case is set for sent cing on May 24, 2005. From May 24, 2005 to May 27,

2005, the undersigned is schedu to attend a Federal Prosecution course in Columbia, South

Carolina.

I have conf ed with counsel for the defendant and he is not opposed to this continuance

FORE, premises considered, the United States requests the above continuance in

order to low the undersigned to attend the aforesaid training seminar.
N|OT|ON GRANTED
DATE:

     

James D. Todd

us oisrm:t Judge L)(\l§

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Respectfully submitted,

TERRELL L. HARRIS
United States Attorney

     

iam R. HFCHE`N/
Assistant United States Attorney

109 South Highland Avenue, Suite 300
Jackson, Tennessee 38301

(731) 422-6220

CERTIFICATE OF SERVICE
I, JERRY R. KITCHEN, do hereby certify that I have this date delivered a true and exact
copy of the foregoing motion to Dianne Smothers, Assistant Federal Det`ender, 109 South

Highland A_venue, Suite B-9, Jackson, TN 38301

This the day of May 18,. 2005. M

MY R. IQF(:HEN "

Assistant United States Attorney

SDISTRICT COURT - WESERTN DTRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 144 in
case 1:04-CR-10061 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

